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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                         CASE NO. 22-CV-61107
  ANGELA HUGHES,
                  Plaintiff,
  v.

  ONCOLOGY & HEMATOLOGY
  ASSOCIATES OF WEST
  BROWARD, P.A., and
  SUMIT SAWHNEY, M.D.,

              Defendants.
  _________________________________________/

                DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO
                             PLAINTIFF’S COMPLAINT

          Defendants, ONCOLOGY & HEMATOLOGY ASSOCIATES OF WEST BROWARD,

  P.A., and SUMIT SAWHNEY, M.D. (hereinafter collectively “Defendants”), pursuant to the

  Federal Rules of Civil Procedure hereby files their Answer and Affirmative Defenses to Plaintiff’s

  Complaint and states as follows:

                               PARTIES, JURISDICTION, AND VENUE

       1. Defendants are without sufficient knowledge at this time to form a reasonable belief as to

  the allegations contained in Paragraph 1 and therefore deny same and demand strict proof thereof.

       2. The allegations of Paragraph 2 consist of legal conclusions and Plaintiff’s characterization

  of the law to which no response is required. To the extent a response is required, Defendants deny

  the allegations of Paragraph 2 and demand strict proof thereof.

       3. The allegations of Paragraph 3 consist of legal conclusions and Plaintiff’s characterization

  of the law to which no response is required. To the extent a response is required, Defendants deny

  the allegations of Paragraph 3 and demand strict proof thereof.

       4. Defendants are without sufficient knowledge at this time to form a reasonable belief as to

                                              LYDECKER LLP
             1221 Brickell Avenue · 19  TH
                                             Floor · Miami · Florida 33131 · (305) 416-3180
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  the allegations contained in Paragraph 4 and therefore deny same and demand strict proof thereof.

     5. Defendants admit the allegations in Paragraph 5.

     6. Defendants admit the allegations in Paragraph 6.

     7. Defendants admit that venue of this action is proper in the Southern District of Florida, but

  deny that Plaintiff was due to be paid in Broward County and demand strict proof thereof. As to the

  remaining allegations in Paragraph 7, Defendants deny same and demand strict proof thereof.

     8. Defendants admit the allegations of Paragraph 8 for jurisdictional purposes only.

     9. The allegations of Paragraph 9 contain legal conclusions to which no response is required.

  To the extent a response is required, Defendants deny same.

     10. Defendants admit only that Plaintiff retained the undersigned counsel but are without

  sufficient knowledge to admit or deny whether Plaintiff has agreed to pay a reasonable fee for all

  services rendered.

                                       BACKGROUND FACTS

     11. The allegations of Paragraph 11 contain legal conclusions to which no response is required.

  To the extent a request is required, Defendants deny same.

     12. Defendants admit the allegations in Paragraph 12 to the extent they employed two or more

  employees for the relevant time period that handled goods or materials that travelled through

  interstate commerce, or used instrumentalities of interstate commerce; however, the remaining

  allegations of Paragraph 12 contain legal conclusions to which no response is required. To the

  extent a response is required, Defendants deny same.

     13. Defendants admit the allegations in Paragraph 13 to the extent Defendants perform medical

  care and in the process their care provided includes using computers, syringes, medications,

  ointments, monitors, computer networking equipment, phones, pharmaceuticals, goods, materials,



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  supplies, and equipment that have all moved through interstate commerce; however, the remaining

  allegations of Paragraph 13 consist of legal conclusions and Plaintiff’s characterization of the law

  which no response is required, to the extent a response is required, Defendants deny same.

     14. Defendants admit the allegations in Paragraph 14 to the extent they sometimes obtain,

  solicit, exchange and send funds to and from outside of the State of Florida, use telephonic

  transmissions going outside of the State of Florida to conduct business, and transmit electronic

  information through computers, the internet, via email, and otherwise outside of the State of Florida.

  However, the remaining allegations of Paragraph 14 consist of legal conclusions and Plaintiff’s

  characterization of the law which cannot be responded to as phrased; to the extent a response is

  required, Defendants deny same.

     15. Defendants admit the allegations in Paragraph 15 to the extent they submit billings and

  receipt of payment involving out-of-state payors sometimes; however, the remaining allegations of

  Paragraph 13 consist of legal conclusions and Plaintiff’s characterization of the law which no

  response is required, to the extent a response is required, Defendants deny same.

     16. Defendants admit the allegations in Paragraph 16 to the extent their annual gross revenues

  are believed to be in excess of$500,000.00 for the relevant time period and/ or in excess of

  $125,000.00 for each fiscal quarter in which Plaintiff worked. Defendants deny the remaining

  allegations of Paragraph 16.

     17. Defendants are without sufficient knowledge at this time to form a reasonable belief as to

  the allegations contained in Paragraph 17 and therefore deny same and demand strict proof thereof.

     18. Defendants deny the allegations in Paragraph 18 and demand strict proof thereof.

     19. Defendants are without sufficient knowledge at this time to form a reasonable belief as to

  the allegations contained in Paragraph 19 and therefore deny same and demand strict proof thereof.



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     20. The allegations of Paragraph 20 contain legal conclusions to which no response is required.

  To the extent a request is required, Defendants deny same.

     21. Defendants admit the allegations in Paragraph 21 to the extent Plaintiff responded to

  requests for medical records by doctors, attorneys, and disability claims made by personnel entities

  located both inside and outside of the State of Florida; however, Defendant denies the remaining

  allegations in Paragraph 21 and demands strict proof thereof.

     22. Defendants admit that Plaintiff worked in “Medical Records” and then was promoted to

  “Medical Records Supervisor.” However, Defendants deny the remaining allegations in Paragraph

  22 and demand strict proof thereof.

     23. Defendants admit the allegations in Paragraph 23.

     24. Defendants deny the allegations in Paragraph 24 and demand strict proof thereof.

     25. Defendants deny the allegations in Paragraph 25 and demand strict proof thereof.

                                               LIABILITY

     26. Defendants deny the allegations in Paragraph 26 and demand strict proof thereof.

     27. Defendants deny the allegations in Paragraph 27 and demand strict proof thereof.

     28. Defendants deny the allegations in Paragraph 28 and demand strict proof thereof.

     29. The allegations of Paragraph 29 contain legal conclusions to which no response is required.

  To the extent a request is required, Defendants deny same

     30. Defendants admit only that Plaintiff retained the undersigned counsel but are without

  sufficient knowledge to admit or deny whether Plaintiff has agreed to pay a reasonable fee for all

  services rendered.

     31. Defendants deny the allegations in Paragraph 31 and demand strict proof thereof.

         Defendants deny the allegations and relief sought contained in the “WHEREFORE”



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  Paragraph, including all subparts, of Plaintiff’s Complaint and demand strict proof thereof.

                                    DEMAND FOR JURY TRIAL

         Defendants aver that Plaintiff demands a trial by jury on all issues so triable, except

  Defendants deny there exists any triable issues in this matter.

                                     AFFIRMATIVE DEFENSES

         As Defendants’ First Affirmative Defense, Defendants assert that Plaintiff’s Complaint

  fails, in whole or in part, to state claims upon which relief can be granted against the Defendants.

         As Defendants’ Second Affirmative Defense, Defendants assert that Plaintiff’s claims are

  barred as to all hours allegedly worked of which Defendants lacked actual or constructive

  knowledge.

         As Defendants’ Third Affirmative Defense, Defendants assert that Defendants have at all

  times acted in good faith to comply with the provisions of the FLSA and had reasonable grounds

  for believing they were in compliance therewith. In addition, Defendants it acted in conformity with

  and in reliance on all written regulations, orders, rulings, approvals, interpretations, or opinions of

  the Department of Labor, Wage and Hour Division.

         As Defendants’ Fourth Affirmative Defense, Defendants assert that no act or omission of

  Defendants alleged to have violated the FLSA were willful, knowing, or in reckless disregard for

  the law.

         As Defendants’ Fifth Affirmative Defense, Defendants assert that Plaintiff’s claims are

  barred to the extent they seek remedies beyond those provided for by the FLSA.

         As Defendants’ Sixth Affirmative Defense, even assuming, arguendo, that Defendants

  failed to properly pay Plaintiff as alleged in Plaintiff’s Complaint, such activities do not constitute

  compensable work under the FLSA, and furthermore, such activities were not an integral and

  indispensable part of Plaintiff’s principal activities of employment and are not compensable.

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           As Defendants’ Seventh Affirmative Defense, Defendants, at all times, acted in good faith

  to comply with the FLSA, and with reasonable grounds to believe that their actions did not violate

  the statutes cited in the Complaint, and so Defendants assert good faith as a defense to any claim

  by Plaintiff for liquidated damages and statutory penalties.

           As Defendants’ Eighth Affirmative Defense, Defendants assert that Plaintiff’s claims are

  barred, in whole or in part, by the provisions of Section 10 of the Portal-to-Portal Act, 29 U.S.C. §

  259, because any actions taken in connection with Plaintiff’s compensation were done in good faith,

  in conformity with and reliance upon written and unwritten administrative practices or enforcement

  policies of the Administrator of the Wage and Hour Division of the United States Department of

  Labor.

           As Defendants’ Ninth Affirmative Defense, Defendants assert that Plaintiff’s claims are

  barred as to all hours during which she was engaged in activities that were preliminary or post-

  liminary to her principal activities.

           As Defendants’ Tenth Affirmative Defense, Defendants assert that the Defendants are not

  engaged in interstate commerce as that term is defined under the FLSA and therefore not subject to

  FLSA.

           As Defendants’ Eleventh Affirmative Defense, Defendants assert that Plaintiff’s claims

  should be barred by the doctrine of unclean hands, estoppel, waiver, and/or laches.

           As Defendants’ Twelfth Affirmative Defense, Defendants assert that Plaintiff is not entitled

  to liquidated damages, as at all times material hereto Defendants acted in good faith.

           As Defendants Thirteenth Affirmative Defense, Defendants assert that any hours worked

  beyond Plaintiff’s compensated workweek were unauthorized and performed without Defendants’




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  actual or constructive knowledge.

         As Defendants’ Fourteenth Affirmative Defense, Defendants assert that any claim for

  overtime compensation by Plaintiff must be offset by any premium compensation, overpayments,

  bonuses, compensatory time off or other job-related benefits paid or provided to Plaintiff including

  a reduction for any compensation already paid to Plaintiff for periods not compensable under FLSA.

  As Defendants’ Fifteenth Affirmative Defense, Defendants assert Plaintiff’s claims are barred as

  she was employed in a capacity exempt from the overtime requirements imposed under the FLSA,

  including but not limited to the exemption provided under Section 13(a)(1) of the FLSA.

         As Defendants’ Sixteenth Affirmative Defense, Defendants assert that Plaintiff has received

  any and all compensation to which she is entitled under the FLSA, and any time spent by Plaintiff

  beyond her compensable workweek, if at all, was either paid properly or de minimis and not

  compensable, or were otherwise contrary to express contract, custom, or practice. Indeed, Plaintiff

  was properly compensated as demonstrated by the timesheet records maintained by the Defendants

  and therefore any claim for unpaid overtime must fail.

         As Defendants’ Seventeenth Affirmative Defense, Defendants assert that to the extent that

  discovery reveals that Plaintiff falsely reported her hours and there is no evidence that Defendants

  require the false reporting of hours; no evidence that Defendant encouraged Plaintiff to falsely

  report her hours; and, no evidence that Defendant knew or should have known that Plaintiff was

  providing false information as to her hours, Defendants hereby invoke the doctrine of estoppel to

  bar the claims asserted by Plaintiff. See Brumbelow v. Quality Mills, Inc., 462 F.2d 1324, 1327 (5th

  Cir. 1972).

         As Defendants’ Eighteenth Affirmative Defense, Defendants assert that Plaintiff’s claims




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  are barred in whole or in part by the doctrine of de minimis non curat lex.

          As Defendants’ Nineteenth Affirmative Defense, Defendants assert Plaintiff has been paid

  and/or received all wages and all other compensation and/or reimbursement due to her by virtue of

  his employment with Defendant.

          As Defendants’ Twentieth Affirmative Defense Defendants assert that they are entitled to

  an award of attorney’s fees and costs because Plaintiff’s claims are frivolous, vexatious, and without

  foundation, and are being brought in bad faith and for the sole purpose of harassing Defendant.

          Defendants reserve the right to amend their Answer and Affirmative Defenses to assert

  additional affirmative defenses as Plaintiff’s claims become more fully developed during this

  litigation.

  Dated this 27th day of July 2022.

                                                        Respectfully submitted,

                                                        LYDECKER LLP
                                                        Attorneys for Defendant, Oncology & Hematology
                                                        Associates Of West Broward, P.A.,
                                                        1221 Brickell Avenue, 19th Floor
                                                        Miami, Florida 33131
                                                        Telephone: (305) 416-3180
                                                        Facsimile: (305) 416-3190

                                                By:     /s/ Katherine Gudaitis
                                                        KATHERINE GUDAITIS, ESQ.
                                                        Florida Bar No: 1003527
                                                        kg@lydecker.com




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                                   CERTIFICATE OF SERVICE

         I hereby certify that I electronically filed the foregoing document with the Clerk of Court
  using CM/ECF on July 27, 2022. I also certify that a true and correct copy of the foregoing was
  served this day via transmission of Notices of Electronic Filing generated by CM/ECF and via U.S.
  Mail on all counsel or parties of record on the Service List below.
                                                   /s/ Katherine Gudaitis
                                                   Katherine Gudaitis Esq.

                                           SERVICE LIST

   Brian H. Pollock, Esq.
   Fair Law Firm
   135 Dan Lorenzo Avenue, Suite 770
   Coral Gables, FL 33134
   305.230.4884
   brian@fairlawattorney.com




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